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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 UNITED STATES OF AMERICA,
        Plaintiff,                                     MEMORANDUM DECISION AND
                                                       ORDER GRANTING DEFENDANT’S
                                                       REQUEST FOR EXTENSION OF
                                                       TIME


                vs.


 DAVID J. ORR,                                         Case No. 2:03-CR-265
        Defendant,




       This matter is before the Court on Defendant David J. Orr’s Request for Extension of

Time to Respond to Government’s Motion’s Regarding Restitution. Having received no

opposition to Defendant’s Request and good cause appearing, the Court hereby GRANTS

Defendant’s Request (Docket No. 224). Defendant shall have until January 31, 2008, to file his

written response regarding restitution.

       SO ORDERED.

       DATED September 18, 2007

       BY THE COURT:



                                            _____________________________________
                                            TED STEWART
                                            United States District Judge
